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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
                                             )
ARETHA SIMMONS, for herself and on behalf    )
of DAVIANNA SIMMONS, a minor, EMILY          )
SIMMONS and KEITH SIMMONS,                   )
                                             )
                         Plaintiffs,         )
                                             )
v.                                           )  No. 14 C 9042
                                             )
THE CITY OF CHICAGO; CHICAGO POLICE )           Judge Matthew F. Kennelly
OFFICERS ANTHONY M. BABICZ (Star 12652); )
STEVEN L. HEFEL (Star 13074);                )  Magistrate Judge Jeffrey T. Gilbert
JUSTIN M. HOMER (Star 10979); SEARGENT )
BRIAN J. KINNANE (Star 1120); MICHAEL R. )      Jury Demanded
LAURIE (Star 15108); JOHN D. OKEEFE          )
(Star 18418); MICHAEL W. SUING (Star 17006); )
JOHN E. WRIGLEY (Star 7179)                  )
                                             )
                         Defendants.         )

           DEFENDANT OFFICERS’ RESPONSE TO PLAINTIFFS’ MOTION
          FOR DEFAULT JUDGMENT AS A SANCTION FOR PERJURY AND
                         DISCOVERY VIOLATIONS

       Defendant Officers Babicz, Hefel, Homer, Kinnane, Laurie, O’Keefe, Suing, and Wrigley

(collectively “Defendant Officers”), by their attorneys, Kenneth M. Battle and Hickey, O’Connor

& Battle, LLP, and for their Response to Plaintiffs’ Motion for Default state as follows:

                                       INTRODUCTION

       Plaintiffs’ Motion for Default Judgment as a Sanction for Perjury and Discovery

Violations is based, in part, on allegations that Defendant Officers Wrigley and O’Keefe

committed perjury in their depositions when they testified about their assignments and

disciplinary histories. Defendant Officers are directing this Response to the issues raised against

them. As will be shown in this Response, Plaintiffs’ allegations of perjury and misconduct are

without merit. Plaintiffs cannot demonstrate that the alleged discrepancies, if any, contained in

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Defendant Wrigley and O’Keefe’s deposition testimony amount to perjury. Therefore, said

testimony does not rise to the level requiring default judgment as a sanction.

                                          ARGUMENT

       Plaintiffs seek a default judgment against Defendant Officers Babicz, Hefel, Homer,

Kinnane, Laurie, O’Keefe, Suing, and Wrigley for alleged perjury committed by Defendants

Wrigley and O’Keefe in their depositions. As an initial matter, Plaintiffs make no effort to

explain why a default judgment should be entered against Defendant Officers Babicz, Hefel,

Homer, Kinnane, Laurie, and Suing. As there is no basis to sanction these officers, the motion

should be denied. Moreover, Plaintiffs have not met their burden to show that Defendant

Officers Wrigley and O’Keefe should be sanctioned in any way, much less have a default

judgment entered against them. Plaintiffs’ motion should be denied in its entirety.

       I.      PLAINTIFFS ARE NOT ENTITLED TO ANY SANCTION AGAINST
               DEFENDANT OFFICERS BABICZ, HEFEL, HOMER, KINNANE,
               LAURIE, AND SUING.

       Plaintiffs make no allegations of misconduct committed by Defendant Officers Babicz,

Hefel, Homer, Kinnane, Laurie, and Suing. The Supreme Court has expressly stated that

sanctions may be appropriate in one of three instances — where the noncomplying party acted

either with willfulness, bad faith or fault. National Hockey League v. Metropolitan Hockey Club,

Inc., 427 U.S. 639, 640, 96 S.Ct. 2778, 2779 (1976) (per curiam); see also Societe Internationale

Pour Participations Industrielles et Commerciales, S.A. v. Rogers, 357 U.S. 197, 212, 78 S.Ct.

1087, 1095 (1958); Montano v. City of Chicago, et al., 535 F.3d 558 (7th Cir. 2008) (dismissal

was inappropriate when entered as a sanction against a party that did not commit the alleged

misconduct). As Plaintiffs have not even attempted to show that Defendant Officers Babicz,




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Hefel, Homer, Kinnane, Laurie, and Suing acted with willfulness, bad faith, or fault, the motion

should be denied as to them.

       II.     PLAINTIFFS HAVE NOT MET THEIR BURDEN TO SHOW THAT
               THEY ARE ENTITLED TO A DEFAULT JUDGMENT AGAINST
               DEFENDANT OFFICERS WRIGLEY AND O’KEEFE.

       Plaintiffs’ allegations of perjury against Defendant Officers Wrigley and O’Keefe also do

not entitle them to a default judgment against Defendant Officers Wrigley and O’Keefe. It is well

settled law that "[a] dismissal with prejudice is a harsh sanction which should usually be

employed only in extreme situations, where there is a clear record of delay or contumacious

conduct, or when other less drastic sanctions have proven unavailable." Pyramid Energy Ltd. v.

Heyl & Patterson, Inc., 869 F.2d 1058, 1061 (quoting Webber v. Eye Corp., 721 F.2d 1067, 1069

(7th Cir.1983) (emphasis added)). Moreover, the sanction imposed should be proportionate to the

gravity of the offense. Allen v. Chi. Transit Auth., 317 F.3d 696, 703 (7th Cir. 2003). While a

court has the inherent authority to sanction a litigant for bad faith conduct during litigation, see

Chambers v. NASCO, Inc., 501 U.S. 32, 44 (1991), the court must first find that the litigant

"willfully abused the judicial process or otherwise conducted litigation in bad faith." See, e.g.,

Salmeron v. Enter. Recovery Sys., Inc., 579 F.3d 787, 793 (7th Cir. 2009); Methode Elecs., Inc.

v. Adam Techs., Inc., 371 F.3d 923, 928 (7th Cir. 2004). The misconduct alleged by Plaintiffs is

their accusation that Defendants Wrigley and O’Keefe committed perjury when they testified

that they were assigned to their respective units and had not been disciplined. In the federal

criminal context, perjury is defined as "false testimony concerning a material matter with the

willful intent to provide false testimony, rather than as a result of confusion, mistake, or faulty

memory." United States v. Dunnigan, 507 U.S. 87, 94, 113 S.Ct. 1111, 122 L.Ed.2d 445 (1993)

(summarizing the elements of 18 U.S.C. § 1621); see also United States v. Dumeisi, 424 F.3d



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566, 582 (7th Cir.2005). Plaintiffs have provided nothing to prove Defendants Wrigley and

O’Keefe committed perjury.

                A. Plaintiffs Have Not Shown That Defendants Wrigley and O’Keefe
                   Committed Perjury.

         Plaintiffs have failed to provide evidence from which this Court can conclude that

Defendants Wrigley and O’Keefe deliberately gave false testimony concerning a material matter

with the willful intent to provide false testimony, rather than as a result of confusion, mistake, or

faulty memory.

         As the Seventh Circuit has explained, “the severity of a sanction should be proportioned

to the gravity of the offense” and does not automatically require dismissal. Allen v. Chicago

Transit Authority, 317 F.3d 696, 703 (7th Cir. 2003). In Allen, the plaintiff in an employment

case admitted that he had lied under oath in his deposition, and was fined $4,000. The court in

Allen stated:

         [P]erjury does not necessarily warrant disregarding a witness’s entire testimony as a
         matter of law. It undermines the witness’s testimony; but obviously there are cases,
         perhaps the majority, in which a witness’s testimony is a compound of truth and falsity.
         Perjury is a circumstance to be weighed by the jury in determining a witness’s credibility
         rather than a ground for removing the issue of credibility from the jury by treating the
         witness’s entire testimony as unworthy of belief. [citations omitted] It simply is not a
         reasonable inference from a falsehood in one part of a witness’s testimony to the
         falseness of the entire testimony. (emphasis added).

Id.

         Unlike the situation in Allen, Plaintiffs here have not proven any intentional falsehoods.

Defendant Wrigley and Defendant O’Keefe gave approximately 340 pages of testimony taken

over more than a combined 11 hours. In their depositions from July of 2016, both Defendant

Officers Wrigley and O’Keefe answered questions regarding their unit of assignment. Questions

were asked of Wrigley at his deposition concerning his various assignments throughout his



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career and his disciplinary history. Plaintiffs cite to one colloquy in an effort to prove he

committed perjury. The questions were imprecise, leading to potential confusion of the record

regarding Officer Wrigley’s understanding of the question and his intent with respect to the

answers provided. Similarly, questions were asked of Officer O’Keefe at his deposition

concerning his various assignments and disciplinary history. Within the Chicago Police

Department, there is a distinction between unit of assignment and unit of detail. For example, an

officer may be assigned to a particular unit and simultaneously detailed to another unit.

Whether Officer Wrigley and O’Keefe were forthcoming with regard to that testimony is fodder

for cross-examination or impeachment, but it does not rise to the level of perjury. As Allen

makes clear, any perceived inconsistencies may affect Wrigley or O’Keefe’s credibility, but that

is an issue for the jury, not perjury.

        The Court in Montano v. City of Chicago, et al., 535 F.3d 558 (7th Cir. 2008), dealt

specifically with allegations of perjury as a basis for reversing a default judgment as a sanction.

In Montano, the District Court entered judgment in favor of defendants after finding that several

plaintiffs committed perjury in their testimony. The Seventh Circuit reversed, finding that

inconsistencies in the testimony did not constitute perjury. For example, the Court found:

        That Ruiz gave somewhat incongruous accounts of the sequence, duration, and scope of
        the altercation is hardly unusual; inconsistencies of this sort are the prototypical products
        of “confusion, mistake, or faulty memory.” These inconsistencies certainly bear on Ruiz's
        credibility — the officers introduced his deposition testimony as impeachment evidence
        — but in the absence of other evidence of a deliberate falsehood do not permit the
        inference that Ruiz committed perjury. (citations omitted).

Id. at 558. With regard to the plaintiffs as a group, the Court held:

        The plaintiffs did not admit giving false testimony, and the court did not mention any
        direct evidence that plaintiffs knowingly lied under oath (there is none, as far as we are
        aware). Instead, the court simply identified six specific discrepancies between testimony
        given by certain of the plaintiffs in deposition and the testimony they gave at trial. We
        assume the court inferred from these discrepancies that the plaintiffs intentionally lied at

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          either their depositions or at trial. The transcripts, however, provide virtually no support
          for this inference. True, the plaintiffs' version of events at trial in 2001 were in certain
          respects out of sync with the story they told in their 1999 depositions, but no evidence
          suggests these inconsistencies were willful, material falsehoods.

Id. at 565. Thus, the Court ruled that there was not enough evidence of perjury in a case where

the plaintiffs had testified both at deposition and at trial. There is even less evidence of perjury

in this case. As Plaintiffs have not proven their allegations of perjury, the motion should be

denied.

                 B. Plaintiffs Have Not Shown They Are Entitled To A Default Judgment
                    Against Officers Wrigley and O’Keefe.

          The entry of a default judgment is the ultimate sanction. The court's authority to sanction

a litigant for misconduct "must be exercised with restraint and discretion." Chambers, 501 U.S.

at 44. A sanction must be proportionate to the wrongdoing. Banks v. Cook County, et al., *14,

No. 12 C 2341, 2014 WL 628256 (N.D. Ill. Feb 18, 2014). Plaintiffs have cited no case in which

the ultimate sanction of default judgment was imposed based on inconsistent testimony at a

deposition. Instead, the cases cited by Plaintiffs in which the sanction of default judgment was

imposed involved extreme circumstances that are distinguishable from the instant case. See e.g.

Greviskes v. Universities Research Ass’n, Inc., 417 F.3d 752 (7th Cir. 2005) (The district court

dismissed Angelita Greviskes' suit after her misconduct included refusing to stipulate to basic

facts, submitting multiple frivolous motions to dismiss the evidentiary hearing, engaging in

fraudulent misconduct, and throwing roadblocks in the process of awarding attorney's fees);

Alexander v. Caraustar Industries, Inc., 930 F. Supp.2d 947 (N.D. Ill. 2013) (plaintiff’s case was

dismissed due to perjury after they admitted in depositions that they lied in sworn declarations

previously submitted to the court in their motion for conditional certification).




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       The questions and answers in the instant case are not the sort in which perjury warranting

dismissal were found in cases cited above. Plaintiffs have cited no case in which default

judgment was granted or even sought where the only allegations of impropriety were

inconsistencies in deposition testimony. Certainly, none of the cases support the proposition that

other defendants should have a default judgment entered against them for the alleged false

testimony of other defendants. As the Montano Court indicated:

       We note as an aside that even had the record shown clear evidence of perjury by
       Montaño, Ruiz, Perales, and David Mendez, the extreme sanction of dismissal would be
       disproportionately severe as to Yesenia Mendez, against whom no accusations of perjury
       were ever leveled. See Allen, 317 F.3d at 703 (sanction should be "proportion[ate] to the
       gravity of the offense"). Dismissing her case for the actions of the other four plaintiffs
       was an abuse of discretion. In addition, large portions of the other four plaintiffs' trial
       testimony did not contradict their deposition testimony. A jury could reasonably conclude
       their testimony was a mix of fact and fiction. See id. ("It simply is not a reasonable
       inference from a falsehood in one part of a witness's testimony to the falseness of the
       entire testimony."). Where a witness's testimony is "a compound of truth and falsity," the
       prudent course is to permit the jury to sort through it; "[p]erjury is a circumstance to be
       weighed by the jury in determining a witness's credibility rather than a ground for
       removing the issue of credibility from the jury by treating the witness's entire testimony
       as unworthy of belief." Id. By dismissing the case with prejudice, however, the district
       judge took the credibility question from the jury… The district court's sanction of
       dismissal with prejudice cannot stand.

Montano, 535 F.3d at 566-567. Plaintiffs have not proven they are entitled to a default

judgment. The motion should be denied.

       III.    ADMISSIBILITY OF THE WILLIAMS COMPLAINT REGISTERS IS
               PREMATURE.

       At the Court’s instance, the Defendant Officers now address the potential admissibility of

the Williams Complaint Registers.      There have been findings and recommendations in the

Williams CRs against Defendants O’Keefe, Wrigley, and Kinnane; however, that underlying

investigation remains under review by the Chicago Police Department. As such, there has been

no final outcome to that administrative investigation. Admission of the Williams CRs, and any



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argument pertaining thereto, could lead the jury to assume the above officers did in fact engaged

in misconduct. The defendant officers have due process rights, including the opportunity to contest

and challenge any findings or recommendations made against them. Moreover, the Chicago Police

Board is responsible for deciding police disciplinary cases in which it is recommended that a sworn

officer be discharged from the Chicago Police Department. Officers Wrigley and O’Keefe would

have the right to present evidence and cross examine witnesses in an administrative hearing related

to their potential discharge. Additionally, Kinnane could challenge a suspension that is ten days

or less by submitting a grievance.

       The jury must only decide whether Plaintiffs’ constitutional rights were violated and if they

are entitled to damages. The findings and recommendations for discipline in the Williams CR,

involve an event that occurred subsequent to August 29, 2013. It would be premature and

prejudicial for the jury to hear evidence of an unrelated administrative investigation where there

has been no final outcome. Defendant O’Keefe, Wrigley, and Kinnane will have the opportunity

to vigorously challenge and defend themselves against the allegations and/or proposed penalty

recommendations. At this point, they have not been able to exhaust all available administrative

remedies before final imposition of any discipline. Therefore, any such evidence pertaining to the

Williams CRs should be barred.

                                        CONCLUSION

       WHEREFORE, Defendant Officers Babicz, Hefel, Homer, Kinnane, Laurie, O’Keefe,

Suing, and Wrigley, respectfully request that this court deny Plaintiffs’ Motion for Sanctions

and Default Judgment, and for such further relief as this court deems just and equitable.




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                                              Respectfully submitted,

                                              OFFICERS BABICZ, HEFEL, HOMER,
                                              KINNANE, LAURIE, O’KEEFE, SUING, and
                                              WRIGLEY;

                                              By: /s/ Kenneth M. Battle
                                                      One of Their Attorneys

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                                 CERTIFICATE OF SERVICE

       I, Kenneth M. Battle, an attorney, certify that a copy of the attached instrument was
served via electronic case filing on all parties of record, on this 13th day of February, 2018.

                                                      /s/ Kenneth M. Battle




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